        Case 4:21-cv-01077-BSM Document 80 Filed 03/03/23 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF ARKANSAS
                            CENTRAL DIVISION

MICHAEL OTIS ROBERTSON                                                       PLAINTIFF
#106563

v.                          CASE NO. 4:21-CV-01077-BSM

ORLANDO NEWBURN, et al.                                                  DEFENDANTS

                                        ORDER

       After de novo review of the record, including Robertson’s objections, Magistrate

Judge Jerome T. Kearney’s proposed findings and recommendations [Doc. No. 77] are

adopted. Defendants’ motion for summary judgment [Doc. No. 67] is granted, and

Robertson’s claims are dismissed with prejudice. Robertson’s motion for settlement [Doc.

No. 74] is denied as moot. Robertson’s motion for status update [Doc. No. 79] is granted,

and the clerk is directed to send Robertson a copy of this order and accompanying judgment,

and a docket sheet.

       IT IS SO ORDERED this 3rd day of March, 2023.


                                                  ________________________________
                                                  UNITED STATES DISTRICT JUDGE
